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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA                       )
                                               )      Criminal No.: 1:20-CR-239
       v.                                      )
                                               )
ELSHAFEE ELSHEIKH,                             )
                                               )
                       Defendant.              )

                       GOVERNMENT’S MEMORANDUM RE
                  ADMISSIBILITY OF OUT-OF-COURT STATEMENTS

                                        INTRODUCTION

       As the Court knows, the government has alleged that, as a member of foreign terrorist

organization the Islamic State of Iraq and al-Sham (ISIS), defendant conspired with other ISIS

members to take as hostages and then murder multiple citizens of the United States and other

countries, including the United Kingdom. The government has further alleged that these offenses

resulted in the deaths of U.S. citizens James Wright Foley, Kayla Jean Mueller, Steven Joel Sotloff,

and Peter Edward Kassig.

       At trial, the government intends to call some of the hostages held by this ISIS conspiracy

but ultimately released. These former hostages will testify that they were held in the same locations

and came to know the circumstances of their fellow captives’ abductions and detention, as well as

mistreatment, pain and injury they suffered at the hands of their captors. They will further testify

that the hostages were required to make video- or audio-recorded statements and answer questions

to provide proof-of-life, as their captors attempted to negotiate ransoms. Moreover, the hostages

learned information about their captors’ backgrounds from the captors themselves and their fellow

hostages. Later in their captivity, some hostages were required to write letters that were carried out
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by released hostages. Some hostages also surreptitiously wrote letters to their families that were

smuggled out. ISIS as an organization also published statements about the hostages through its

media bureau.

       Through these former hostage witnesses, the government will seek to introduce various

types of out-of-court statements made by deceased or missing hostages about the circumstances of

their capture and detention, their treatment, and the identity of their captors or that were made in

response to the hostage-takers’ demands for proof-of-life or communications to strengthen the

ransom demands. The government will also seek to introduce numerous statements by ISIS mem-

bers in both publicly disseminated media and statements made to the hostages and their families,

including ransom demands. Moreover, the government will seek to introduce the communications

and public statements of the hostages’ families to ISIS regarding their children’s captivity. Because

the purpose and use of these statements are factually diverse, the government believes the Court

can rule on the admissibility of individual statements at trial as the government seeks to introduce

them. However, to preview the issues for the Court and to provide necessary background for the

Court’s trial determinations, the government submits this memorandum addressing the types of

statements it will seek to introduce and the various bases for admissibility it intends to invoke.

                               OUT-OF-COURT STATEMENTS

       The government will not attempt to list every out-of-court statement here but respectfully

notes that it intends to introduce statements falling within the following general categories: (1)

statements by the hostages to their fellow captives about the circumstances of their own abductions

and captivity, their physical and mental state, including descriptions of pain and injury, and state-

ments concerning observations about the individuals holding them whom the hostages dubbed “the

Beatles,” or background information the hostages learned about the Beatles; (2) video and audio




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recordings of the hostages that were sent to the hostages’ families as proof of life; (3) responses

the hostages made to demands by the Beatles for information relating to the ransom negotiations

such as email addresses, contact details, and answers to proof-of-life questions, and (4) letters

written by the hostages while in captivity.

       The government also intends to introduce statements published by ISIS through its media

operation. In videos and online magazine publications, ISIS not only admitted the offenses com-

mitted by members of the conspiracy but also aggressively publicized them. By publicizing the

murder of hostages, these statements furthered the hostage-taking scheme by communicating

threats to kill, injure, or continue detaining hostages to induce the United States to take action or

abstain from action. In addition, this propaganda served to incite others to violence, and ISIS glo-

rified and justified its actions through this sophisticated media operation. Lastly, because

conspiring to provide material support or resources to a designated foreign terrorist organization

requires the government to prove the defendant’s knowledge, ISIS’s brazen and open publication

of its terrorist activity permits the jury to infer that an ISIS member like Elsheikh knew exactly the

sort of conduct in which the organization engaged.

                                              ARGUMENT
I.     These statements do not implicate the Confrontation Clause.

       The Sixth Amendment prohibits the introduction of testimonial statements by a non-testi-

fying witness to prove the matter asserted in the statement, unless the witness is unavailable and

the defendant had a prior opportunity for cross-examination. See Crawford v. Washington, 541

U.S. 36, 51, 54 (2004); United States v. Ayala, 601 F.3d 256, 272 (4th Cir. 2010). Statements are

testimonial when the circumstances objectively indicate the primary purpose of the interrogation

is to establish or prove past events potentially relevant to later criminal prosecution. See Ohio v.

Clark, 576 U.S. 237, 244 (2015) (holding that statements of child abuse victim to teacher were


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non-testimonial). Factors such as the presence of an ongoing emergency or informality of a situa-

tion or questioning tend to reduce the likelihood that the primary purpose is to procure testimonial

statements, and statements made to non-law enforcement are much less likely to be considered

testimonial than statements to police. See id. at 245–46; see also, e.g., United States v. Mathis, 932

F.3d 242, 255–56 (4th Cir. 2019) (holding that co-conspirator statements in furtherance of a con-

spiracy were non-testimonial because not intended for use at trial); United States v. Cabrera-

Beltran, 660 F.3d 742, 752 (4th Cir. 2011) (holding that records generated by a business for pur-

poses unrelated to trial preparation are non-testimonial); United States v. Jordan, 509 F.3d 191,

201 (4th Cir. 2007) (holding that statements to friends or acquaintances were non-testimonial when

no made in anticipation of use at trial). When no primary purpose to produce testimonial statements

exists, “the admissibility of a statement is the concern of state and federal rules of evidence, not

the Confrontation Clause.” Clark, 576 U.S. at 245 (quoting Michigan v. Bryant, 562 U.S. 344, 359

(2011)). None of the statements the government intends to introduce here were made for the pri-

mary purpose and in the context of creating an out-of-court record to prove facts relevant to

criminal prosecution. Accordingly, their admissibility is governed solely by the Federal Rules of

Evidence.

II.       Many of the statements are not being offered for their truth and are therefore not
          hearsay.

          A statement is only hearsay if “a party offers [it] in evidence to prove the truth of the matter

asserted in the statement.” Fed. R. Evid. 801(c)(2). 1 Examples of permissible purposes for a state-

ment that render it non-hearsay include: (1) to explain why an individual took a particular action



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      Relatedly, testimony by a witness “that convey direct observations of the physical appearance
and actions of another person are not hearsay at all, but rather direct evidence of the facts in ques-
tion.” Ross v. St. Augustine’s College, 103 F.3d 338, 342 (4th Cir. 1996).


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or to show its effect on subsequent actions, see United States v. Davis, 918 F.3d 397, 401 (4th Cir.

2019); (2) to show the basis for a witness’s belief in a particular fact, see United States v. Hassan,

742 F.3d 104, 136 (4th Cir. 2014); (3) to show the defendant’s knowledge of a particular fact

proved through other evidence, see United States v. Rafiekian, 991 F.3d 529, 550 (4th Cir. 2021);

United States v. Safari, 894 F.2d 891, 894 (4th Cir. 1988); (4) to prove the simple fact that the

words were spoken at all, see United States v. Ayala, 601 F.3d 256, 272 (4th Cir. 2010); (5) to

demonstrate that a person held a belief at a particular time, see United States v. Ibisevic, 675 F.3d

349 (4th Cir. 2012); or (6) to provide context to other admissible statements so that the jury can

understand their import and judge their weight, see United States v. Leake, 642 F.2d 715, 720 n.6

(4th Cir. 1981). Questions are often non-hearsay unless they are highly accusatory and function as

a statement of a factual matter. See, e.g., United States v. Williams, 445 F.3d 724, 735–36 (4th Cir.

2006).

         The government will elicit evidence that the defendant and his co-conspirators demanded

email addresses, contact details for family members, and answers to proof-of-life questions from

the hostages. The government is not offering the responses from the hostages for their truth but

rather to show that they were made in the first place and to provide context and explanation for the

subsequent ransom demands that were sent to the families through that contact information. These

statements are evidence that the defendant and his co-conspirators played a central role in the

hostage-taking scheme and were responsible for collecting information to generate ransom de-

mands. For example, when an anticipated government witness named Omar was imprisoned in

“the Dungeon,” Omar heard the Western hostages giving personal details and email addresses to

the British-accented guards. The government intends to offer these statements as proof of the de-

fendant’s role in the ransom negotiations and also to corroborate the statements of the hostages.




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           Likewise, the government intends to offer the ransom demands contained in the video and

audio recordings and letters sent to the hostages’ families as well as the families’ responses in

private emails, videos, and public statements. These statements serve a number of relevant eviden-

tiary purposes but are not being introduced to prove the matters asserted in them. First, the ransom

demands are direct proof of a central element of the hostage-taking offenses, which require that

threats be made in order to coerce a third party to take an action or refrain from acting (see 18

U.S.C. § 1203(a)); they therefore may be introduced solely to prove the fact that they were made

at all. See Ayala, 601 F.3d at 272. 2 Second, because the government will introduce evidence show-

ing that it was defendant who took the hostages’ contact information and was involved in the

sending of the ransom demands, the content of the demands and the families’ responses show that

the defendant knew the extent and purpose of the hostage-taking scheme and intended to further

it. Additionally, the ransom demands and the responses are admissible to show their effect on the

individuals who received them and the basis for subsequent actions, including further ransom de-

mands or other actions by the co-conspirators.

III.       Because the hostage-takers intended to silence hostages they killed, statements by
           the deceased hostages are admissible on forfeiture-by-wrongdoing grounds.

           Even otherwise testimonial hearsay statements by an unavailable witness are admissible

against a party who wrongfully caused, or acquiesced in wrongfully causing, a witness’s unavail-

ability. See Fed. R. Evid. 804(b)(6). The deceased hostages are clearly unavailable (see Fed. R.




       2
     Moreover, in certain cases, the hostages repeated statements that had been drafted for them
by the hostage-takers for communication to their families. In those instances, the statements are
admissions by a party-opponent, whether by theories of agency, adoption, or co-conspirator state-
ments. See, e.g., Fed. R. Evid. 801(d)(2). For example, a compelled statement by a hostage is
undoubtedly “made by a person whom [the hostage-takers] authorized to make a statement on the
subject.” Fed. R. Evid. 801(d)(2)(C).


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Evid. 804(a)(4)), and the government will adduce evidence that one of the purposes for killing

hostages was to prevent them from identifying or otherwise incriminating members of the ISIS

hostage cell.

       The Supreme Court has “made clear that a defendant’s confrontation rights are subject to

the forfeiture-by-wrongdoing exception, a common law doctrine that allows the introduction of

unconfronted testimonial statements ‘where the defendant ha[s] engaged in wrongful conduct de-

signed to prevent a witness’s testimony.’” United States v. Jackson, 706 F.3d 264, 267 (4th Cir.

2013) (citing Giles v. California, 554 U.S. 353, 366 (2008)). “Such ‘wrongful conduct’ includes

but is not limited to murdering a witness.” Id. The exception is based on the maxim that no one

should be permitted to take advantage of his wrongful conduct. Id. at 268. The Supreme Court has

emphasized that the “Constitution does not guarantee an accused person against the legitimate

consequences of his own wrongful acts.” Id. (citing Giles, 554 U.S. at 359). In other words, “one

who obtains the absence of a witness by wrongdoing forfeits the constitutional right to confronta-

tion.” Davis v. Washington, 547 U.S. 813, 833 (2006).

       Silencing a witness need not be the defendant’s sole motivation for the exception to apply.

See Jackson, 706 F.3d at 267. The Fourth Circuit has stated that “eroding the forfeiture-by-wrong-

doing exception” with a restrictive sole-intent requirement risks giving defendants an “intolerable

incentive” to “bribe, intimidate, or even kill witnesses against them.” Id. at 269. It would also

provide a disincentive for witnesses to come forward and testify. Id. The Fourth Circuit’s decision

to apply the forfeiture-by-wrongdoing exception even when a defendant has multiple motivations

for harming a witness is in accord with other circuits. See id.; United States v. Martinez, 476 F.3d

961, 966 (D.C. Cir. 2007) (reasonable to conclude anyone who murders informant intends to exact

revenge and prevent informant from testifying); United States v. Houlihan, 92 F.3d 1271, 1279




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(1st Cir. 1996) (sufficient to show defendant was motivated in part by desire to silence the witness).

       Rule 804(b)(6) also applies where a defendant’s co-conspirators have procured the una-

vailability of a witness. See United States v. Dinkins, 691 F.3d 358, 384-85 (4th Cir. 2012). As

explained by the Fourth Circuit in Dinkins,

               The principles of conspiratorial liability articulated in Pinkerton
               provide that a person is liable for substantive offenses committed by
               a co-conspirator when their commission is reasonably foreseeable
               and in furtherance of the conspiracy. Thus, Pinkerton liability en-
               compasses a person who, while not directly committing an offense,
               has participated in a conspiracy that leads a confederate to engage
               in that conduct. The principle underlying the Pinkerton doctrine is
               that conspirators are each other’s agents; and a principal is bound by
               the acts of his agents within the scope of the agency. The language
               of Rule 804(b)(6) supports the application of Pinkerton principles
               of conspiratorial liability in the forfeiture-by-wrongdoing context,
               by requiring that the defendant either have wrongfully caused—or
               acquiesced in wrongfully causing—the declarant’s unavailability.
               The term acquiesce, within the meaning of Rule 804(b)(6), encom-
               passes wrongdoing that, while not directly caused by a defendant
               coconspirator, is nevertheless attributable to that defendant because
               he accepted or tacitly approved the wrongdoing.

Id. at 384 (citations and internal quotation marks omitted).

       Before applying the forfeiture-by-wrongdoing exception, a trial court must find, by a pre-

ponderance of the evidence, that “(1) the defendant engaged or acquiesced in wrongdoing (2) that

was intended to render the declarant unavailable as a witness and (3) that did, in fact, render the

declarant unavailable as a witness.” Dinkins, 691 F.3d at 383 (quoting United States v. Gray, 405

F.3d 227, 241 (4th Cir. 2005)). The purpose of the forfeiture-by-wrongdoing exception is to pre-

vent “abhorrent behavior which strikes at the heart of the system of justice itself.” Id. (quoting Fed.

R. Evid. 804(b)(6) advisory committee note). To effectuate this purpose, federal courts have

broadly construed the elements of the forfeiture-by-wrongdoing exception. Dinkins, 691 F.3d at

383 (citation omitted).


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       Rule 804(b)(6) applies here. The defendant was a member of a hostage captor network that

abducted numerous people and killed several of them. The deaths of James Foley, Steven Sotloff,

David Haines, Alan Henning, and Peter Kassig were publicized by ISIS in videos and publications

released online. Although ISIS clearly utilized these murders for their own propaganda purposes,

it is also clear that these murders served the purpose of silencing these victims and preventing them

from providing any information about their captors. As the government will demonstrate at trial,

the captor network went to great lengths to maintain secrecy. For example, the government will

elicit testimony demonstrating that family members who received ransom demands were warned

not to go to the media. The hostages were beaten after the first hostage was released and told if

any released hostage “went public,” the remaining hostages would be tortured. The government

will also introduce evidence demonstrating that the defendant and his co-conspirators murdered a

Russian hostage and showed a picture of his corpse to the remaining hostages as a warning not “to

go public.”

       The defendant and his co-conspirators also went to great effort to conceal their identities,

including wearing masks, making the hostages face the wall when the Beatles entered their cell,

and assaulting hostages who attempted to look at their faces. The defendant and co-defendant

Kotey also lied about their identities when they were captured by Syrian Democratic Forces in

January 2018. The defendant knew he was a member of a terrorist organization that sought to

protect itself through secrecy and administered harsh measures to maintain that secrecy. The de-

fendant also knew, as demonstrated by the death of the Russian hostage and the threats he and his

co-conspirators made, that torture and death were promised results if released hostages “went pub-

lic.” It was foreseeable that the remaining hostages would be killed in part to prevent them from

sharing information about the captor network.




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       Furthermore, Kayla Mueller’s death was not published in an ISIS propaganda video, and

it cannot be argued that Mueller was killed for the propaganda purposes of that organization.

Mueller’s death served the purpose of silencing her and preventing her from sharing information

after she had been held captive for a time by the defendant and his co-conspirators, and then later

in the residences of ISIS leadership. As a result, any hearsay statements by hostages killed by

defendant and his co-conspirators are admissible under the forfeiture-by-wrongdoing exception.

IV.    Some statements are admissible as present sense impressions, excited utterances, or
       as statements of mental, physical, or emotional conditions.

       Other exceptions to the prohibition on hearsay include: (1) present sense impressions, in

which a declarant makes a statement “describing or explaining an event or condition, made while

or immediately after the declarant perceived it” (Fed. R. Evid. 803(1)); (2) excited utterances, in

which a declarant “relat[es] a startling event or condition, made while the declarant was under the

stress of excitement that it caused” (Fed. R. Evid. 803(2)); and (3) statements of state of mind or

physical or mental condition, in which a declarant contemporaneously describes their “then-exist-

ing state of mind” or “emotional, sensory, or physical condition” (Fed. R. Evid. 803(3)). Even if

hearsay, many of the governments’ proffered statements will be admissible on these bases. The

government provides some general examples below.

       A.      Present Sense Impressions

       The government will introduce statements by some hostages to others regarding the cir-

cumstances of their detention by the hostage-takers, including descriptions of their captors, the

conditions in which they were being held, or specific events that happened during their detention.

The government will adduce testimony that the hostages shared information they learned about

their captors or events they experienced separately from the others as they learned or experienced

them. These statements describing things the hostages had contemporaneously seen or experienced



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fall squarely within this exception. Similarly, statements by the hostages in proof-of-life videos or

other ransom communications with their families about the circumstances of their detention are

admissible as present sense impressions. For example, the Fourth Circuit has upheld statements

made by a defendant’s mother to police officers arriving at her home describing her son’s threats

to the family and that he had a gun. See United States v. Jackson, 124 F.3d 607, 618 (4th Cir.

1997). The underlying theory of Rule 803(1) is that substantial contemporaneity of event and state-

ment negate the likelihood of deliberate or conscious misrepresentation. Rule 803 advisory

committee note. Here, the hostages’ contemporaneous statements to co-hostages about their cir-

cumstances or captors are admissible to prove those circumstances or facts.

       B.      Excited Utterances

       Similarly, the rules permit admission of hearsay statements about a startling event or con-

dition when made under the stress of that circumstance. See Fed. R. Evid. 803(2). To qualify under

the excited utterance exception: (1) the declarant must have experienced a startling event or con-

dition; (2) the declarant must have related the statement while under the stress or excitement of

that event or condition, not from reflection; and (3) the statement or utterance must have related to

the startling event or condition. See United States v. Jennings, 496 F.3d 344, 349 (4th Cir. 2007)

(approving admission of out-of-court statements of sexual assault victim) (citation and quotation

marks omitted). Like the present sense impression, the Fourth Circuit has noted that the justifica-

tion for this exception is based on the assumption that an excited declarant will not have had time

to reflect on events to fabricate, and errors in memory will have had less time to accumulate. Id.

(citation and quotation marks omitted). The Fourth Circuit has also held that courts should consider

a number of factors in determining whether a statement is made while “under the stress” of the

event. Morgan v. Foretich, 846 F.2d 941, 947 (4th Cir. 1988); accord Jennings, 496 F.3d at 349.




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Particularly where there are other indicia of trustworthiness, including lack of motives to lie, the

demeanor of the individual when making the statement, or extrinsic evidence, the Fourth Circuit

recognized that the excited utterance exception could apply even where there is some delay be-

tween the event and the statement. See Morgan, 846 F.2d at 947–48.

       The government will introduce evidence about the conditions and events to which the hos-

tages were subjected, including threats of physical harm and death, actual assaults, and compelled

activities designed to threaten or intimidate them. The circumstances of these statements weigh

heavily in favor of their trustworthiness and reliability. For example, statements by the hostages

to other hostages about the circumstances of their capture or detention—while still in that state of

fear and captivity—are undoubtedly still made while under the stress of their seizure and detention.

Hostages have no motive to lie to each other under such circumstances, and the hostage-witnesses

can corroborate certain elements of these statements. In such cases, the Court may make a fact-

specific determination that a particular statement by a hostage was made under the stress of a

startling event or condition and admit the statement for its truth.

       C.      State of Mind or Physical and Mental Conditions

       Contemporaneous statements about an individual’s then-current state of mind, including

their motives, plans, and intention, as well as their physical, mental, or emotional condition are all

admissible for their truth. See Fed. R. Evid. 803(3). The Fourth Circuit has noted that the exception

covers statements by an individual about her feelings and mental or emotional state, her fears or

her reactions to specific events, and what she believed about a particular circumstance. See, e.g.,

Ross v. St. Augustine’s College, 103 F.3d 338, 342–43 (4th Cir. 1996); see also Williams, 445 F.3d

at 736 n.5. Accordingly, statements by the hostages to other hostages, or in their proof of life

videos, about their current conditions, fears, beliefs, or other physical, mental, or emotional




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conditions are admissible to prove those beliefs or conditions. Similarly, statements by the hos-

tages’ families about their fears or beliefs about their children’s captivity would also be admissible

to prove those states of mind or mental, emotional, or physical conditions.

V.      Statements by the ISIS media bureau are non-hearsay admissions by a party
        opponent under the co-conspirator exception.

        The standard for admission of a co-conspirator statement is clear in this Circuit: a statement

is not hearsay if it is “a statement by a co-conspirator of a party during the course and in furtherance

of the conspiracy” and is offered against the party. United States v. Graham, 711 F.3d 445, 453

(4th Cir. 2013) (citing Fed. R. Evid. 801(d)(2)(E)). In order to admit a statement under Rule

801(d)(2)(E), the moving party must show that (i) a conspiracy did, in fact, exist; (ii) the declarant

and the defendant were members of the conspiracy; and (iii) the statement was made in the course

of, and in furtherance, of the conspiracy. Id. (citation omitted). Idle conversation that touches on,

but does not further, the purposes of the conspiracy does not constitute a statement in furtherance

of a conspiracy. Id. (citation omitted). A statement by a co-conspirator is made “in furtherance” of

a conspiracy if it was intended to promote the conspiracy’s objectives, whether or not it actually

has that effect. Id. (citation omitted). The district court is not required to make an explicit finding

that a conspiracy exists before admitting co-conspirator statements. Id.

        The government has alleged the defendant joined a conspiracy to promote the growth and

profile of a terrorist organization (i.e., ISIS) through criminal acts and violence. To that end, the

defendant and his co-conspirators kidnapped, tortured, and unlawfully detained numerous individ-

uals to acquire ransom money for ISIS, and to assert demands and pressure on the United States

and other governments to cease military action in the Middle East and release certain prisoners.

The murders of five of these hostages were used by ISIS in its propaganda and distributed widely

online by means of carefully edited videos and magazine articles. ISIS’s public statements about



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the deaths of the hostages were in furtherance of the common goal of promoting ISIS’s ideology,

raising ISIS’s public profile, attracting additional recruits and resources. In addition, any state-

ments that the captors said directly to the hostages would also fall within this exception.

VI.       In appropriate cases, this Court may admit some of these statements under the
          residual hearsay exception.

          An out-of-court statement may be admitted, even if other hearsay exceptions do not apply,

under the following circumstances: (1) the statement is supported by sufficient guarantees of trust-

worthiness—after considering the totality of circumstances under which it was made and evidence,

if any, corroborating the statement; and (2) it is more probative on the point for which it is offered

than any other evidence that the proponent can obtain through reasonable efforts. Fed. R. Evid.

807(a); accord Burgess v. Goldstein, 997 F.3d 541, 560 (4th Cir. 2021). 3 As with any hearsay

statement offered under an exception, the court’s threshold finding that admissibility requirements

are met merely means that the jury may consider the statement and not that it must assume the

statement to be true. Rule 807 advisory committee note to 2019 Amendments. In evaluating

whether to apply the residual hearsay exception, this Court may consider whether statements are a

“near miss” for one of the other exceptions, which along with other indicia of reliability and trust-

worthiness may weigh in favor of admissibility. See, e.g., United States v. Clarke, 2 F.3d 81, 83–

85 (4th Cir. 1993). The most important requirement of Rule 807 “is that the district court properly

determine that equivalent circumstantial guarantees of trustworthiness are present.” United States

v. Dunford, 148 F.3d 385, 393 (4th Cir. 1998).




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     Rule 807(b) also requires the proponent of the statement to provide the opposing party with
reasonable notice of the intent to offer it. The government provided notice of statements it may
seek to introduce under the residual hearsay exception in a letter to defense counsel on December
22, 2021.


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       To cite just one example, the government intends to introduce a portion of a video-taped

speech given by Kayla Mueller to the Kiwanis Club in May 2013. 4 Several circumstances illustrate

Mueller’s Kiwanis club speech is sufficiently trustworthy to be considered by the jury. The speech

was videotaped, and the accuracy of the recording can be verified by Mueller’s parents, who were

in attendance. Mueller was invited to give the speech when she returned to the United States for a

visit in May 2013 and was asked to speak about her humanitarian work, particularly her work with

Syrian refugees. Mueller was expressing her own interest in and concern about conditions in Syria

and had no motivation to fabricate her statements. See United States v. Cunningham, 761 F. App’x

203 (4th Cir. 2019) (circumstances of trustworthiness considered by district court included declar-

ant’s lack of motivation to lie). The speech is also strongly corroborated by other evidence.

Mueller’s brief description of her prior humanitarian work is corroborated by her own resume, and

also by family members familiar with her employment background. Mueller’s then-current em-

ployment with Support to Life in Turkey can also be corroborated by her family members and

other government witnesses.

       The Kiwanis club speech is the most probative evidence available to the government con-

cerning Mueller’s humanitarian work and the background that led her into Syria on August 3,

2013. The government does not intend to introduce the entire thirty-six-minute speech; the

government only seeks to play the first seven minutes, where Mueller explains her interest in

Syria and decision to work for a non-profit organization in Turkey. The government is unable to

call Mueller as a witness to testify about her long-term interest in Syria and her desire to travel



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      This speech is perhaps most readily recognizable as a statement about Kayla Mueller’s then-
existing state of mind regarding her plans to travel to Syria and the reasons behind them. However,
if the Court were to disagree, the government maintains that this evidence also meets the require-
ments of Rule 807 as described here.


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into that country to help Syrian refugees. The video-taped speech provides an explanation from

Mueller herself about how she came to be present in Aleppo in August 2013 and is therefore the

best evidence available to the government.



                                              Respectfully submitted,

                                              Jessica D. Aber
                                              United States Attorney

                                        By:                   /s/
                                              Raj Parekh, First Assistant U.S. Attorney
                                              Dennis Fitzpatrick
                                              John T. Gibbs
                                              Aidan Taft Grano-Mickelsen
                                              Assistant United States Attorneys
                                              Alicia Cook
                                              Department of Justice Trial Attorney




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                                CERTIFICATE OF SERVICE
        I hereby certify that on March 1, 2022, I electronically filed this motion with the Clerk of

Court using the CM/ECF system, which will transmit a Notice of Electronic Filing to all counsel

of record in this case.

                                          By:                    /s/
                                                Aidan Taft Grano-Mickelsen
                                                Assistant United States Attorney
                                                U.S. Attorney’s Office for the
                                                Eastern District of Virginia
                                                2100 Jamieson Avenue
                                                Alexandria, VA 22314
                                                T: 703-299-3700
                                                Email: aidan.grano-mickelsen@usdoj.gov




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